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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                     District of Colorado
                                                      __________    District of __________
                  In re iFinex Inc., Applicant
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                  Pinnacle Bancorp d/b/a Bank of Colorado, 1650 East Harmony Road, Fort Collins, Colorado 80525
 To:

                                                       (Name of person to whom this subpoena is directed)

     ’ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
                                             See Exhibit A hereto.


 Place: Davis Graham & Stubbs LLP, 1550 17th ST, STE 500                               Date and Time:
           Denver, CO 80202                                                                              06/03/2020 9:00 am


          The deposition will be recorded by this method:                     Certified shorthand reporter and/or videographer

       ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material: See Exhibit A hereto.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                 Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)     iFINEX INC.
                                                                        , who issues or requests this subpoena, are:
Shannon Wells Stevenson, Davis Graham & Stubbs LLP, 1500 17 ST, STE 500 Denver, CO 80202
shannon.stevenson@dgslaw.com, 303-892-9400
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                         Reset
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                         EXHIBIT “A”

                                          DEFINITIONS

        The following definitions are to be used with respect to these documents:

       A.    The “ACCOUNT” shall mean and refer to Bank of Colorado Account Number
 5701063413.

        B.      “ALL” shall mean each, any and all.

        C.     “BANK RECORDS” shall mean and refer to account statements, signature cards,
 account applications, wire transfers (in or out), and any other DOCUMENT evidencing deposits,
 withdrawals, balances and/or other account activity.

        D.      “COMMUNICATION(S)” shall mean any dissemination of information by
 transmission or a statement from one person to another or in the presence of another, whether by
 writing, orally or by action or conduct, including but not limited to, written notes, electronic
 communications with attachments, verbal conversations and visual notations.

         E.      “DOCUMENT” is defined to be synonymous in meaning and equal in scope to the
 usage of this term in Federal Rules of Civil Procedure 34(a), and shall mean any and all information
 in tangible or other form, whether printed, typed, recorded, computerized, filmed, reproduced by
 any process or written or produced by hand, and whether an original, draft, master, duplicate or
 copy, or notated version thereof, that is in your possession, custody or control. A draft or non-
 identical copy is a separate document within the meaning of this term.

         F.      “DOCUMENT” as used in this Subpoena shall also include, but not be limited to,
 electronic files, other data generated by and/or stored on or through any of your computer systems
 and storage media (e.g., internal or external hard drives, CD-ROM’s, floppy disks, backup tapes,
 thumb drives, internet-based posting boards or any other data storage media or mechanisms) or
 any other electronic data. This includes, but is not limited to: email and other electronic
 communications (e.g., postings to internet forums, ICQ or any other instant messenger messages,
 and/or text messages); voicemails; word processing documents; spreadsheets; databases;
 calendars; telephone logs; contact manager information; Internet usage files; offline storage or
 information stored on removable media; information contained on laptops or other portable
 devices; and network access information. Further, this includes data in any format for storing
 electronic data.

         G.      “CRYPTO CAPITAL” shall mean and refer to Crypto Capital, and its
 subsidiaries, officers, directors, employees, agents, managers, members, attorneys, accountants,
 investigators, representatives and anyone else acting on its behalf.




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                                                                                             4715025.1
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         H.      “CRYPTO CAPITAL CORP” shall mean and refer to Crypto Capital Corp, and
 its subsidiaries, officers, directors, employees, agents, managers, members, attorneys,
 accountants, investigators, representatives and anyone else acting on its behalf.

         I.      “ELIGIBILITY” shall mean and refer to Eligibility Criterion (also known as
 Eligibility Criterion Unip LDA), and its subsidiaries, officers, directors, employees, agents,
 managers, members, attorneys, accountants, investigators, representatives and anyone else acting
 on its behalf.

        J.      “FLETCHER” shall mean and refer to Diana Fletcher, and her employees, agents,
 attorneys, accountants, investigators, representatives and anyone else acting on his behalf.

         K.     “FOWLER” shall mean and refer to Reginald Dennis Fowler, and his employees,
 agents, attorneys, accountants, investigators, representatives and anyone else acting on his
 behalf.

         L.     “T. FOWLER” shall mean and refer to Trent Dennis Fowler, and his employees,
 agents, attorneys, accountants, investigators, representatives and anyone else acting on his
 behalf.

         M.      “GTS SWITZERLAND” shall mean and refer to Global Trade Solutions AG, and
 its subsidiaries, officers, directors, employees, agents, managers, members, attorneys,
 accountants, investigators, representatives and anyone else acting on its behalf.

         N.      “GTS US” shall mean Global Trading Solutions LLC, and its subsidiaries,
 officers, directors, employees, agents, managers, members, attorneys, accountants, investigators,
 representatives and anyone else acting on its behalf.

         O.      “GTS UK” shall mean and refer to G.T.S. Resources Limited, and its subsidiaries,
 officers, directors, employees, agents, managers, members, attorneys, accountants, investigators,
 representatives and anyone else acting on its behalf.

         P.      “IDENTIFY,” with respect to banking account information, means to provide (a)
 the vesting/full name on the account, (b) account number, (c) names of authorized signers on the
 account, (d) address of bank branch where each account was opened, and (e) date each account
 was opened.

         Q.     “IFINEX” shall mean and refer to iFinex Inc. and its subsidiaries, officers,
 directors, employees, agents, managers, members, attorneys, accountants, investigators,
 representatives and anyone else acting on its behalf. For the purposes of this definition, it shall



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 also include and otherwise cover the commonly referred to trade name Bitfinex and its
 corresponding website address at bitfinex.com.

         R.     “IWANAGA” shall mean and refer to Katsuyoshi Iwanaga, and his employees,
 agents, attorneys, accountants, investigators, representatives and anyone else acting on his
 behalf.

         S.     “MOLINA” shall mean and refer to Ivan Manuel Molina Lee, and his employees,
 agents, attorneys, accountants, investigators, representatives and anyone else acting on his
 behalf.

         T.    “MONROE” shall mean and refer to Rondell “Rhon” Clyde Monroe, and his
 employees, agents, attorneys, accountants, investigators, representatives and anyone else acting
 on his behalf

         U.      “NLE” shall mean and refer to NLE Consulting Group, and its subsidiaries,
 officers, directors, employees, agents, managers, members, attorneys, accountants, investigators,
 representatives and anyone else acting on its behalf.

         V.     “O. YOSEF” shall mean and refer to Ozzie Yosef a/k/a Ozzie Joseph, and his
 employees, agents, attorneys, accountants, investigators, representatives and anyone else acting
 on his behalf.

        W.      “R. YOSEF” shall mean and refer to Ravid Yosef, and her employees, agents,
 attorneys, accountants, investigators, representatives and anyone else acting on his behalf.

         X.      “SPIRAL” shall mean and refer to Spiral Global Development Limited, and its
 subsidiaries, officers, directors, employees, agents, managers, members, attorneys, accountants,
 investigators, representatives and anyone else acting on its behalf.

         Y.     “STAFFORD” shall mean and refer to David Anthony Stafford, and his
 employees, agents, attorneys, accountants, investigators, representatives and anyone else acting
 on his behalf.

        Z.      “TCA BANK” shall mean and refer to TCA Investment Bancorp & Trust
 Company and its subsidiaries, officers, directors, employees, agents, managers, members,
 attorneys, accountants, investigators, representatives and anyone else acting on its behalf.

         AA. “YOU” shall mean and refer to Citibank, N.A., and your subsidiaries, officers,
 directors, employees, agents, managers, members, attorneys, accountants, investigators,
 representatives and anyone else acting on your behalf.


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        BB. The singular shall include the plural, and the plural shall include the singular. The
 conjunctive “and” shall include the disjunctive “or” and the disjunctive “or” shall include the
 conjunctive “and.”

        CC. Each Document produced shall be produced as it is kept in the usual course of
 business (i.e., in the file folder or binder in which such Documents were located when the
 request was served) or shall be organized and labeled to correspond to the categories of
 Documents requested.

         DD.      You are instructed to produce any and all Documents which are in your possession,
 custody or control. Possession, custody or control includes constructive possession whereby you
 have a right to compel the production of a matter from a third party (including an agency, authority
 or representative).

        EE.     To the extent the location of any Document called for by this Exhibit is unknown
 to you, so state. If any estimate can reasonably be made as to the location of an unknown
 Document, describe the Document with sufficient particularity so that it can be identified, set forth
 your best estimate of the Document’s location, and describe the basis upon which the estimate is
 made.

        FF.   If any Document request is deemed to call for disclosure of proprietary data,
 counsel for movant is prepared to receive such data pursuant to an appropriate confidentiality
 order.

         GG. To the extent the production of any Document is objected to on the basis of
 privilege, provide the following information about each such document: (1) describe the nature of
 the privilege claimed (e.g., attorney-client, work product, etc.); (2) state the factual and legal basis
 for the claim of such privilege (e.g., communication between attorney for corporation and outside
 counsel relating to acquisition of legal services); (3) identify each person who was present when
 the document was prepared and who has seen the Document; and (4) identify every other
 Document which refers to or describes the contents of such Document.

        HH. If any document has been lost or destroyed, the Document so lost or destroyed shall
 be identified by author, date, subject matter, date of loss or destruction, identity of person
 responsible for loss or destruction and, if destroyed, the reason for such destruction.

        II.     The relevant period of time for purposes of this Subpoena is from November 1,
 2016, through the present, unless otherwise specified below.




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                                ITEMS TO BE PRODUCED

        1.      ALL BANK RECORDS for the ACCOUNT.

        2.      ALL COMMUNICATIONS concerning, referring to or relating to the

 ACCOUNT.

        3.      ALL BANK RECORDS for any account for which FOWLER is a signer and/or

 authorized individual.

        4.      ALL BANK RECORDS for any account held in the name of CRYPTO CAPITAL,

 CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS SWITZERLAND,

 GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or TCA BANK.

        5.      ALL COMMUNICATIONS concerning, referring to or relating to any account

 held in the name of CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER,

 T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R.

 YOSEF, SPIRAL, and/or TCA BANK.

        6.      ALL COMMUNICATIONS between or among YOU and/or CRYPTO CAPITAL,

 CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS SWITZERLAND,

 GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or TCA BANK.

        7.      ALL COMMUNICATIONS between or among YOU and/or FLETCHER,

 IWANAGA, MONROE, and/or STAFFORD concerning, referring to or relating to CRYPTO

 CAPITAL,      CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS

 SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or

 TCA BANK.

        8.      ALL COMMUNICATIONS in YOUR possession, custody, or control that were

 sent to or received from any banking institution concerning the transfer of funds to or from

 CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS

 SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or

 TCA BANK.

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        9.      ALL DOCUMENTS concerning, referring to, or relating to the transfer of funds to

 or from CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T.

 FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF,

 SPIRAL, and/or TCA BANK.

        10.     DOCUMENTS sufficient to IDENTIFY ALL banking accounts owned, controlled,

 or relating to CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T.

 FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF,

 SPIRAL, and/or TCA BANK.

        11.     ALL COMMUNICATIONS in YOUR possession, custody, or control concerning,

 referring to, or relating to IFINEX or Bitfinex.

        12.     ALL DOCUMENTS constituting any agreements, contracts, arrangements,

 understandings or confirmations with CRYPTO CAPITAL, CRYPTO CAPITAL CORP,

 ELIGIBILITY, FOWLER, T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA,

 NLE, O. YOSEF, R. YOSEF SPIRAL, and/or TCA BANK.

        13.     ALL DOCUMENTS reflecting any transfer of funds – whether by wire transfer or

 otherwise – to or from CRYPTO CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY,

 FOWLER, T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF,

 R. YOSEF, SPIRAL, and/or TCA BANK.

        14.     ALL COMMUNICATIONS in YOUR possession, custody, or control, with any
 bank, financial institution, or other company or individual concerning or relating to CRYPTO

 CAPITAL, CRYPTO CAPITAL CORP, ELIGIBILITY, FOWLER, T. FOWLER, GTS

 SWITZERLAND, GTS UK, GTS US, MOLINA, NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or

 TCA BANK.

        15.     ALL DOCUMENTS constituting any agreements, contracts, arrangements,

 understandings or confirmations with any bank, financial institution, or other company or

 individual concerning or relating to CRYPTO CAPITAL, CRYPTO CAPITAL CORP,



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  ELIGIBILITY, FOWLER, T. FOWLER, GTS SWITZERLAND, GTS UK, GTS US, MOLINA,

  NLE, O. YOSEF, R. YOSEF, SPIRAL, and/or TCA BANK.




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